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                                         January 10, 2022

VIA CM/ECF

The Honorable Deborah K. Chasanow, District Judge
United States District Court for the District of Maryland
6500 Cherrywood Lane, Suite 400
Greenbelt, Maryland 20770

               Re:     Christopher Graham, et. al. v. Famous Dave’s of America, Inc.,
                       Case No. 1:19-cv-00486-DKC (D. Md.)

Dear Judge Chasanow:

        This letter is submitted jointly by all Parties to update the Court regarding the status of
this matter. On January 6, 2022, the Parties wrote the Court to advise that there was a
disagreement over the format of the data to finalize the relevant settlement papers and requesting
until today to update the Court regarding the status of this matter. While the Parties are
continuing to try and work through this issue, they believe a status conference with the Court
would be appropriate and helpful.

        The Parties therefore respectfully request a status conference at a date and time available
for the Court.

                                      Respectfully submitted,




                                      Levi S. Zaslow

cc: Counsel of Record (via ECF)
